            Case 1:12-cr-00318-LJO-SKO Document 48 Filed 12/13/12 Page 1 of 3


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    BALTAZAR RODRIGUEZ
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   No. 1:12-cr-0318 LJO-SKO
                                                     )
12                         Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE; ORDER
13          v.                                       )
                                                     )
14   BALTAZAR RODRIGUEZ,                             )
                                                     )   Date: January 22, 2013
15                         Defendant.                )   Time: 1:00 p.m.
                                                     )   Judge: Hon. Sheila K. Oberto
16                                                   )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the status conference in the above-captioned matter now set for December 17, 2012, may be
20   continued to January 22, 2013 at 1:00 p.m.
21          This continuance is at the request of counsel for defendant to permit investigation and negotiations
22   between the parties. This continuance will conserve time and resources for both parties and the court.
23   ///
24   ///
25   ///
26   ///
27   ///
28
             Case 1:12-cr-00318-LJO-SKO Document 48 Filed 12/13/12 Page 2 of 3


1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for effective defense
3    preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii), (iv).
4                                                                    BENJAMIN B. WAGNER
                                                                     United States Attorney
5
6    DATED: December 13, 2012                               By:       /s/ Karen A. Escobar
                                                                     KAREN A. ESCOBAR
7                                                                    Assistant United States Attorney
                                                                     Attorney for Plaintiff
8
9                                                                    DANIEL J. BRODERICK
                                                                     Federal Defender
10
11   DATED: December 13, 2012                                  By:    /s/ Ann H. Voris
                                                                     ANN H. VORIS
12                                                                   Assistant Federal Defender
                                                                     Attorney for Defendant
13                                                                   Baltazar Rodriguez
14
15   DATED: December 13, 2012                                  By:     /s/ John F. Garland
                                                                     JOHN F. GARLAND
16                                                                   Attorney at Law
                                                                     Attorney for Defendant
17                                                                   Jose Guadalupe Rodriguez
18
19   DATED: December 13, 2012                                  By:    /s/ Daniel L. Harralson
                                                                     DANIEL L. HARRALSON
20                                                                   Attorney at Law
                                                                     Attorney for Defendant
21                                                                   Carlos Adan Lupian-Lua
22
23   DATED: December 13, 2012                                  By:     /s/ Katherine L. Hart
                                                                     KATHERINE L. HART
24                                                                   Attorney at Law
                                                                     Attorney for Defendant
25                                                                   Jose Guadalupe Zavala-Ramos
26
27   ///
28   ///

     Stipulation to Continue Status Conference
     Hearing; Order                                       -2-
             Case 1:12-cr-00318-LJO-SKO Document 48 Filed 12/13/12 Page 3 of 3


1    DATED: December 13, 2012                            By:    /s/ Carol A. Moses
                                                               CAROL A. MOSES
2                                                              Attorney at Law
                                                               Attorney for Defendant
3                                                              Hector Quintero-Mercado
4
5    DATED: December 13, 2012                            By:     /s/ Peter M. Jones
                                                               PETER M. JONES
6                                                              Attorney at Law
                                                               Attorney for Defendant
7                                                              Juan Carlos Perez-Gonzales
8
9
10
11
                                                  ORDER
12
         IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii), (iv).
13
14
         Dated:      December 13, 2012                         /s/ Sheila K. Oberto
15                                                 UNITED STATES MAGISTRATE JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation to Continue Status Conference
     Hearing; Order                                  -3-
